Case 2:16-cv-14050-MAG-RSW ECF No. 18 filed 01/19/17        PageID.418    Page 1 of 2



                             United States District Court
                             Eastern District of Michigan


 United States of America,

       Plaintiff,
                                            Civil No. 2:16-cv-14050
 v.
                                            Honorable Mark A. Goldsmith
                                            Mag. Judge Stephen Whalen
 Quicken Loans, Inc.,

       Defendant.


                                   Appearance


      Notice is given that Christopher R. Reimer, Trial Attorney for U.S.

Department of Justice, will serve as counsel on behalf of the United States in the

above-entitled action.

                                       Christopher R. Reimer

                                       s/Christopher R. Reimer
                                       Christopher R. Reimer
                                       Trial Attorney
                                       601 D. St NW, Rm. 10304
                                       Washington, DC 20004
                                       (202) 305-3829
                                       Email: christopher.r.reimer@usdoj.gov

Date: January 19, 2017
Case 2:16-cv-14050-MAG-RSW ECF No. 18 filed 01/19/17         PageID.419    Page 2 of 2




                              Certificate of Service
      I hereby certify that on January 19, 2017, I electronically filed the foregoing

paper with the Clerk of the Court using the ECF system which will send notification

of such filing to the following:

      Jeffrey B. Morganroth
      MORGANROTH & MORGANROTH, PLLC
      344 North Old Woodward Avenue, Suite 200
      Birmingham, MI 48009

      Thomas M. Hefferon
      William Kyle Tayman
      Sabrina M. Rose-Smith
      GOODWIN PROCTER LLP
      901 New York Avenue, NW
      Washington, DC 20001




                                       Christopher R. Reimer

                                       s/Christopher R. Reimer
                                       Christopher R. Reimer
                                       Trial Attorney
                                       601 D. St NW, Rm. 10304
                                       Washington, DC 20004
                                       (202) 305-3829
                                       Email: christopher.r.reimer@usdoj.gov




                                          2
